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       PSJ4 SOL Opp Exh 56
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                                                                            Page 1

1                       IN THE UNITED STATES DISTRICT COURT
2                            NORTHERN DISTRICT OF OHIO
3                                 EASTERN DIVISION
4
                                ~~~~~~~~~~~~~~~~~~~~
5
6             IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
              OPIATE LITIGATION
7                                                            Case No. 17-md-2804
8                                                            Judge Dan Aaron
              This document relates to:                      Polster
9
              The County of Summit, Ohio, et al.
10            v. Purdue Pharma L.P., et al.
              Case No. 17-OP-45004
11
              The County of Cuyahoga v. Purdue
12            Pharma L.P., et al.
              Case No. 18-OP-45090
13
              City of Cleveland, Ohio v. Purdue
14            Pharma L.P., et al
              Case No. 18-OP-45132
15
                                ~~~~~~~~~~~~~~~~~~~~
16
                              Videotaped deposition of
17                                 TERRY ALBANESE
18
                                   January 4, 2019
19                                    9:04 a.m.
20
21                                    Taken at:
                          Sheraton Suites - Cuyahoga Falls
22                               1989 Front Street
                                Cuyahoga Falls, Ohio
23
24
25                         Renee L. Pellegrino, RPR, CLR

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1                A.     I don't know about the causes itself
2       of the epidemic, but that some people -- I
3       understand that some folks get addicted to drugs
4       through prescription abuse and others started
5       with street drugs.
6                Q.     So when you say some folks get
7       addicted through prescriptions, do you mean they
8       first get addicted to prescription drugs and
9       then transition to something else?
10               A.     That's the way I understand it.
11               Q.     And how did you develop that
12      understanding?
13               A.     Through the -- what we were hearing
14      from families, from the opiate task force.                         You
15      hear a lot from people in the community.                         Even
16      initially from people outside of Akron, in
17      Summit County, who it seems like they were the
18      first to demand action from the mayor, even
19      though it wasn't their mayor.                      But after a
20      while, the stories have a similar thread because
21      our initial understanding, like I told you
22      before, is that this was a street drug problem.
23      We didn't know how many people were addicted
24      until more and more people began to overdose.
25      So we learned a lot through those first couple

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1       of years about the problem.                  And it was not what
2       I originally thought it was.                   But we knew that,
3       just thinking about growing up in the '70s, and
4       some of the '80s, who are younger, that that
5       small population of kids in high school who were
6       doing illegal drugs somehow didn't balloon into
7       these large numbers of addicts that we were
8       seeing in the 2000s and where did that come
9       from.      You know, people don't just wake up in
10      their 40s and say, gee, I'm going to try heroin
11      for the first time.           So we had to do the
12      research and really learn about why -- why we
13      were seeing this increase.                 It didn't make
14      sense.
15               Q.     So what kind of -- so when you say
16      we had to do the research, who is the "we"?
17               A.     I think any -- our community and our
18      city employees that are working in this, to try
19      to understand what was happening, to get the
20      information that would help us understand what
21      was happening.        You don't begin to solve a
22      problem until you really understand the sources.
23                      We went through this process -- and
24      I can speak easily about it with infant
25      mortality because that was my primary

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